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         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF GEORGIA
                     GAINESVILLE DIVISION

FAIR FIGHT, INC., SCOTT BERSON,
JOCELYN HEREDIA, and JANE DOE,

    Plaintiffs,                       Civil Action No.
                                      2:20-cv-00302-SCJ
    v.

TRUE THE VOTE, INC., CATHERINE
ENGELBRECHT, DEREK
SOMERVILLE, MARK DAVIS,
MARK WILLIAMS, RON JOHNSON,
JAMES COOPER, and JOHN DOES 1-
10,

    Defendants.


                     BRIEF IN SUPPORT OF
         PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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                         PRELIMINARY STATEMENT

      Since Reconstruction, opportunistic political groups and their affiliates have

raised the specter of “voter fraud” to suppress votes and subvert elections.

Regrettably, the 2020 election cycle added yet another chapter to this familiar story:

True the Vote, a Texas organization trumpeting baseless claims of voter fraud—

while banking millions of dollars—embarked on a nationwide scheme involving

frivolous lawsuits and legal challenges against voters in Georgia and elsewhere, in

a Hail Mary attempt to change the outcome of the presidential and Georgia runoff

election in favor of Republicans. But the timing of these efforts and the absence of

supporting evidence makes plain they could achieve no lawful objective; they

operated solely to intimidate and harass voters.

      A.     True the Vote’s “Validate the Vote” initiative originated from a
             scheme to overturn the presidential election results.

      Just two days after the 2020 general election, a donor paid True the Vote $2

million to assist in overturning election results. Statement of Undisputed Material

Fact (“SUMF”) ¶ 44. True the Vote proposed to achieve this goal through a national

scheme it called “Validate the Vote.” SUMF ¶¶ 45-46. Specifically, True the Vote

and its founder, Catherine Engelbrecht,1 created a funding proposal that outlined an


1
  True the Vote and its founder and current president, Catherine Engelbrecht, are
referred to collectively as “True the Vote” unless otherwise specified.
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imaginary “[p]roblem” of “Democrat officials” committing “deliberate election

fraud” and “counting illegal votes,” and proposed a solution that would involve True

the Vote filing lawsuits around the country to “nullify the results of” targeted states’

elections—including Georgia’s—“so that the Presidential Electors c[ould] be

selected in a special election or by the state legislature.” SUMF ¶ 46. Engelbrecht

even suggested that she had been coordinating efforts with the Trump team, and that

the campaign would pay some of True the Vote’s fees. SUMF ¶ 48.

      B.     The Validate the Vote scheme transitioned from the presidential
             election to the Georgia runoff election.
      True the Vote’s scheme to overturn the presidential election failed because it

was unable to produce concrete evidence of voter fraud, even after its funder

repeatedly implored the organization to provide specific evidence. SUMF ¶ 53.

Rather than subject the organization’s entirely baseless claims to judicial scrutiny,

True the Vote abruptly dismissed all four of its federal court lawsuits challenging

the presidential results (just days after filing them), and turned its “attention[] . . .

towards Georgia” for the Senate runoffs, where it launched its attacks against




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citizens directly; “Validate the Vote” became “Validate the Vote Georgia.” SUMF

¶ 55.2

         To implement “Validate the Vote Georgia,” True the Vote offered a $1 million

“bounty” for reports of voter fraud, SUMF ¶¶ 145-148, recruited Navy SEALS to

confront voters and poll workers, SUMF ¶¶ 150-151, and, with the help of individual

Defendants and state Republican Party officials, launched the largest mass challenge

effort in Georgia history, targeting hundreds of thousands of voters just two weeks

before the January 2021 runoff election. SUMF ¶¶ 58-59, 61. These challenges relied

on data from the U.S. Postal Service’s National Change of Address database

(“NCOA”) and effectively accused every voter who had filed a request to forward

their mail to a different address over the past several years of being unlawfully

registered. SUMF ¶¶ 60-61.

         But much like True the Vote’s frivolous lawsuits to overturn the presidential

election, Defendants knew their “evidence” was thin from the get-go. True the Vote

admitted it had no way of knowing whether voters who had filed a change of address



2
  True the Vote’s funder, Fred Eshelman, would eventually sue the organization,
defense counsel James Bopp, the Bopp Law Firm, OpSec, and Gregg Phillips for
breach of contract, fraudulent misrepresentation, and conversion. Eshelman alleged
that True the Vote misspent his donation on efforts he never agreed to fund, like the
“largely baseless challenges to the eligibility of hundreds of thousands of voters in
the 2021 Georgia Senate runoffs.” SUMF n.2.
                                          3
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had moved away permanently, or just temporarily. SUMF ¶¶ 69-71. And when one

of True the Vote’s challengers in Taliaferro County opted to investigate further, he

found a list populated with eligible, lawful residents; he was so aghast that he

demanded the challenges be withdrawn. SUMF ¶¶ 112-116.

      What the Taliaferro County challenger discovered was no one-off problem:

True the Vote prepared its bloated challenge lists as part of their plan to “build

momentum through broad publicity” and “galvanize Republican” support at the

expense of accuracy. SUMF ¶¶ 46, 130. Its challenge lists were riddled with

substantial, obvious errors that would have given pause to anyone remotely

interested in accuracy. Missing data and missing values in key fields suggest that

some voters were misidentified; thousands of entries reported voter addresses near

or on military installations and in municipalities with universities, which strongly

suggests that their address changes were temporary (i.e. to attend college or for

military service). SUMF ¶¶ 80-104. And the list of problems only goes on. See infra

§ I.B.1.a.

      C.     Validate the Vote violated federal law.

      Perhaps the most obvious flaw of True the Vote’s scheme is that it asked

county officials to violate well-established federal law. The National Voter

Registration Act (“NVRA”) makes clear that voters cannot be removed from the

                                         4
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registration rolls and prevented from voting based on a change of address alone

unless the following preconditions are met: either (1) the voter has confirmed in

writing that their residence has changed, or (2) the voter has both failed to respond

to a notice about their change of address and has not voted or appeared to vote in the

last two general elections. See 52 U.S.C. § 20507(d)(1); see also TRO Order at 11-

13, ECF No. 29 (rejecting Defendants’ attempts to distinguish challenges to a voter’s

eligibility from challenges to a voter’s registration).

      The NVRA also prohibits states from conducting “any program the purpose

of which is to systematically remove the names of ineligible voters from the official

lists of eligible voters.” 52 U.S.C. § 20507(c)(2)(A). Defendants’ challenges,

however, would have required county officials to do just that, within two weeks of

the runoff election. O.C.G.A. § 21-2-230(h) (requiring that “the challenged elector’s

name shall be removed” from the rolls if the challenged is based on the elector’s

qualifications to remain on the “list of electors”). Given the last-minute nature of

Defendants’ launch, they could not have expected the counties to complete the

procedures mandated by federal law—or even to adjudicate each challenge—in time

for the runoff election.




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      D.     Defendants’ scheme intimidated Georgia voters.

      Defendants’ scheme could achieve no lawful objective in the two-and-a-half-

week period between True the Vote’s public announcement of their mass challenges

and the January 2021 runoff. It was supported not by evidence or law, but rather

True the Vote’s and its donor’s desire to influence election outcomes. By True the

Vote’s admission, the evidence-free allegations of fraud in the Validate the Vote

scheme were written “as a promotional piece,” to build public momentum and

galvanize support; the truth was irrelevant. SUMF ¶¶ 134, 138. And election officials

could not possibly have conducted hearings on approximately 366,000 voter

challenges in two weeks. Thus, the only plausible outcome of Defendants’

challenges and election-subversion activities is voter harassment and intimidation.

      That is precisely what happened as the challenges unfolded and voters were

informed that their eligibility was in question. Plaintiffs and other voters expressed

feelings of fear, anxiety, and in some cases apprehension about voting in future

elections. SUMF ¶¶ 152-174. And Plaintiff Fair Fight, a political action committee

dedicated to securing the voting rights of Georgians, was forced to divert resources

from its get-out-the-vote activities to monitoring Defendants’ challenges and

assisting voters to respond, including by attending Board of Elections hearings on




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the challenges, expending financial and staffing resources to collect and analyze

challenge lists, and assisting voters who had been challenged. SUMF ¶¶ 1-19.

      True the Vote’s actions during the 2021 runoff election are textbook examples

of voter intimidation. As Dr. Vernon Burton, a historian with expertise in civil rights

and the American South, has explained, mass challenges “[g]rounded on

unsubstantiated claims of voter fraud” and “the pretext of purifying elections”

feature prominently in Georgia’s well-documented history of voter suppression and

discrimination in voting. SUMF ¶ 154 & n.9. In fact, voter challenge laws were

historically designed to disenfranchise Black voters and were applied with

devastating effect. SUMF ¶ 154 & n.9. Defendants’ coordinated campaign of

frivolous mass challenges, false accusations of fraudulent conduct, and

encouragement of harassment of voters and election officials are common tools of

voter intimidation and suppression. SUMF ¶ 154 & n.9.

      Section 11(b) of the Voting Rights Act (“VRA”) empowers courts to protect

citizens from these types of sweeping attacks, which are objectively likely to

intimidate voters. The undisputed evidence demonstrates that Defendants’ mass

elector challenges and other elements of the Validate the Vote program have

intimidated Georgia voters, and will continue to threaten lawful voters with

disenfranchisement, harassment, and fear of legal repercussions absent judicial relief

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to ensure that Georgians can fully and freely participate in the electoral process. The

Court should grant Plaintiffs’ motion for summary judgment.

                               LEGAL STANDARD

      Summary judgment is appropriate when there is no genuine issue of material

fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.

56. The moving party bears the initial burden, but it need not disprove the opposing

party’s claims. Instead, the moving party may point out the absence of evidence to

support the non-moving party’s case. Celotex Corp. v. Catrett, 477 U.S. 317, 325

(1986); Marion v. DeKalb Cnty., 821 F. Supp. 685, 687 (N.D. Ga. 1993). In

defending its claims, the non-moving party must do “more than simply show that

there is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). The non-moving party “must

come forward with significant, probative evidence demonstrating the existence of a

triable issue of fact.” Irby v. Bittick, 44 F.3d 949, 953 (11th Cir. 1995).

                                    ARGUMENT
      Section 11(b) of the VRA prohibits all actions or attempts to “intimidate,

threaten, or coerce” any person “for voting or attempting to vote.” 52 U.S.C. §

10307(b). These expansive protections for voters reflect the VRA’s “ambitious aims

of encouraging true enforcement of the Fifteenth Amendment’s promise of


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unencumbered access” to the franchise. Nat’l Coal. on Black Civic Participation v.

Wohl (“Wohl I”), 498 F. Supp. 3d 457, 476 (S.D.N.Y. 2020). The law targets actions

that make voters “timid or fearful,” or that “inspire or affect with fear,” or “threaten”

through “promise [of] punishment, reprisal, or other distress,” regardless of the

perpetrator’s subjective intent. Nat’l Coal. on Black Civic Participation v. Wohl

(“Wohl II”), 512 F. Supp. 3d 500, 509 (S.D.N.Y. 2021) (quoting United States v.

Piervinanzi, 23 F.3d 670, 677 (2d Cir. 1994)).

      Threats or intimidation, moreover, can appear in several forms, and subtler,

nonviolent voter-related harm can give rise to a Section 11(b) violation. TRO Order

at 22; Wohl I, 498 F. Supp. 3d at 477. For instance, “[c]onduct that ‘put[s] [an

individual] in fear of harassment and interference with their right to vote’” is

“sufficient to support [a] § 11(b) claim.’” Wohl II, 512 F. Supp. 3d at 509 (citation

omitted). Similarly, accusing voters of criminal conduct or suggesting that they are

otherwise ineligible to vote also likely violates Section 11(b). League of United Latin

Am. Citizens - Richmond Region Council 4614 v. Pub. Int. Legal Found. (“LULAC”),

No. 1:18-CV-00423, 2018 WL 3848404, at *4 (E.D. Va. Aug. 13, 2018). The same

is true of “actions or communications that inspire fear of economic harm, . . . privacy

violations, and even surveillance,” all of which “constitute unlawful threats or

intimidation under the statute.” Wohl II, 512 F. Supp. 3d. at 509.

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      Additionally, actors are “presumed to have intended the natural consequences

of [their] deeds” because “[f]requently the most probative evidence” of what an actor

intended to do is “objective evidence of what actually happened.” Washington v.

Davis, 426 U.S. 229, 253 (1976) (Stevens, J., concurring). Thus, as to voter

intimidation, courts will consider “[d]efendants’ prior conduct and expressed goals,”

taken together with the context of those actions, to identify whether the natural

outcome of those actions is voter intimidation. Wohl I, 498 F. Supp. 3d at 485.

      True the Vote’s coordination, execution, and promotion of the largest mass

challenge effort in Georgia history, and the accompanying elements of its Validate

the Vote scheme—including its “bounty on fraud” and recruitment of former Navy

SEALs to patrol polling stations—fall squarely within the categories of conduct

proscribed by Section 11(b). Unrefuted testimony from impacted voters confirm that

Defendants’ actions were highly likely to (and did in fact) “intimidate or threaten”

individuals for attempting to vote, in violation of the VRA. Thus, Plaintiffs are

entitled to judgment as a matter of law.

I.    Defendants engaged in voter intimidation through True the Vote’s
      “Validate the Vote” scheme and landmark “Georgia Elector
      Challenges.”

      Defendants’ actions violate Section 11(b)’s objective test several times over.

For one, their mass challenges directly accused hundreds of thousands of voters of

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unlawful activity in a manner reasonably likely to put them in fear of adverse legal

consequences. These allegations were frivolous as demonstrated by numerous,

obvious flaws in True the Vote’s methodology. Nevertheless, consistent with the

“Validate the Vote” scheme, True the Vote pressed forward and publicized its false

accusations in order to build public momentum and galvanize support—particularly

from Republican officials—for unfounded claims of widespread fraud, in a cynical

attempt to undermine the 2020 presidential and January 2021 runoff elections. The

serious allegations lodged against the individual Plaintiffs, along with the 250,000-

plus Georgia voters named in these challenges, intimidated and discouraged eligible

citizens, and will continue to do so in future elections absent injunctive relief.

      A.     True the Vote’s “Validate the Vote” program was originally
             hatched to overturn the presidential election results.
      “Validate the Vote,” the name given to True the Vote’s election subversion

scheme, was launched two days after the November 2020 general election, when

Republican donor Fred Eshelman enlisted True the Vote’s assistance in overturning

the presidential election results in exchange for several million dollars. SUMF ¶ 44.

In response, True the Vote prepared a proposal titled “Validate the Vote 2020.”

SUMF ¶ 45-46. The plan was to highlight the purported counting of “illegal ballots

. . . in Democrat counties,” which True the Vote claimed was the “result of Democrat



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officials [sic] refusal to obey state election laws and counting illegal votes.” SUMF

¶ 46.

        Of course, True the Vote now admits that it did not have any evidence that

this “problem” actually existed. When asked whether True the Vote had evidence

supporting these claims, Ms. Engelbrecht (the organization’s founder, current

president, and Rule 30(b)(6) witness) said: “No, this was a promotional piece that

was written.” SUMF ¶ 49. Nor would Ms. Engelbrecht explain why True the Vote

sought to challenge the results of only the presidential election, even though the

“problem” she identified would affect all ballots, including races won by Republican

candidates. SUMF ¶ 49. But her own communications reveal that she was

coordinating efforts with the Trump campaign and even believed at one point that

the campaign would pay True the Vote’s legal fees. SUMF ¶ 48.

        True the Vote nevertheless launched a comprehensive effort to gin up

evidence of voter fraud in Georgia and several other “targeted states,” with the

ultimate goal of forcing a “special election” where state legislatures, rather than

voters, would select presidential electors, or the next president would be selected

“by the U.S. House of Representatives.” SUMF ¶¶ 45-46.




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        The first step of this scheme was to initiate “federal civil rights lawsuit[s]” in

four “targeted states,” including Georgia.3 See Compl., Brooks v. Mahoney, No.

4:20-cv-00281 (S.D. Ga. Nov. 11, 2020), ECF No. 1. In all four complaints, True

the Vote promised to deliver evidence of “illegal votes” by “ineligible voters,” and

sought to overturn each state’s election results. See, e.g., id. ¶ 45. The lawsuits

specifically foreshadowed “sophisticated and groundbreaking analysis” using,

among other tools “United States Postal Service records”—the same type of records

True the Vote would use to challenge the voting rights of hundreds of thousands of

Georgia residents. See, e.g., id. And the complaints threw in a raft of radical,

evidence-free claims for good measure. In the Georgia case, for instance, True the

Vote alleged that over 73,000 “votes were cast for Joe Biden in Georgia by

noncitizens,” id. ¶ 41, a claim that similarly lacked any evidentiary support.

        But True the Vote never mustered any proof of ineligible voting in any of the

lawsuits it filed, despite repeated requests from its funder, Eshelman, imploring the

organization to provide “real evidence” supporting their accusations. SUMF ¶ 53.

Instead, True the Vote voluntarily dismissed all four cases just days after filing,

prompting its funder to later file his own lawsuit accusing True the Vote of

fraudulently inducing his donation and ultimately using it—not for the presidential


3
    True the Vote also filed lawsuits in Michigan, Wisconsin, and Pennsylvania.
                                           13
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challenges as originally earmarked—but to support “largely baseless challenges to

the eligibility of hundreds of thousands of voters in the 2021 Georgia Senate

runoffs.” SUMF n.2.

      B.     After its failed attempt to overturn the presidential election results,
             True the Vote targeted Georgia’s runoff election.

      Following dismissal of True the Vote’s frivolous “election fraud” lawsuits,

True the Vote focused its attention on the runoff election. “Validate the Vote”

became “Validate the Vote Georgia”: True the Vote “simply took the logo and put

the word ‘Georgia’ in the center” but all key elements of the national plan remained.

SUMF ¶¶ 55. To execute this plan, True the Vote enlisted OpSec Group and its

founder Gregg Phillips, who gained national notoriety after the 2016 presidential

election when he claimed, without any basis, that more than three million votes were

cast by non-citizens. SUMF ¶ 79. 4 True the Vote also recruited Defendants Mark

Davis and Derek Somerville to serve as collaborators. SUMF ¶¶ 58-59. The U.S.



4
  In direct contravention of this Court’s December 22, 2021 Order that “Defense
Counsel shall not instruct individual and Rule 30(b)(6) witnesses to not answer
questions absent compliance with applicable discovery rules and law”—an Order
that was necessary after Defense Counsel repeatedly violated this rule during other
depositions in this case—Defense Counsel instructed Mr. Phillips not to answer
questions about his 2016 claims. Dec. 22 Order at 2, ECF No. 142; OpSec Tr. 42:3–
44:19. Because these claims predated OpSec’s creation in 2020, they were
necessarily asked in Mr. Phillips’s individual capacity. See Ex. 45, G. Phillips Dep.
Notice.
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Postal Service records that True the Vote alluded to in its prior lawsuits, but failed

to show the courts, became the basis for a slapdash elector challenge effort in which

True the Vote would accuse several hundred thousand Georgians of being registered

illegally.

       C.    Frivolous challenges and false accusations of unlawful conduct
             intimidate voters.

       This Court previously recognized that the frivolity of Defendants’ accusations

challenging the eligibility of Georgians to vote “may tend to support Plaintiffs’

contentions that these challenges result only in voter harassment and intimidation.”

TRO Order at 28 (emphasis added). The record establishes that not only were the

elector challenges frivolous as a legal matter, but the challenge lists were so hastily

and carelessly constructed that widespread errors were inevitable and obvious.

       Undisputed evidence shows that True the Vote knew its challenge lists were

inaccurate and included individuals who were properly registered. SUMF ¶ 66. It

also knew that its challenges would burden registrants. SUMF ¶ 66. And yet True

the Vote took virtually no precautions to minimize the number of eligible voters on

their challenge lists. It was thus entirely foreseeable that eligible voters would be

included in the challenge lists, would feel intimidated upon receipt of formal notice,

and would reluctantly decide in the future that the safer course may be not to vote at

all. SUMF ¶¶ 172-174; Democratic Nat’l Comm. v. Republican Nat’l Comm., 671
                                          15
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F. Supp. 2d 575, 612 (D.N.J. 2009) (concluding challenged voters “may choose to

refrain from voting rather than wait for the qualifications of those ahead of them to

be verified, especially if the verification becomes confrontational”), aff’d, 673 F.3d

192 (3d Cir. 2012).

             1.       NCOA data cannot determine eligibility to vote.
      A foundational problem with Defendants’ challenges is that they were

constructed from attempts to match the state voter registration records to NCOA data

showing individuals who have asked the Postal Service to forward their mail to a

different address. SUMF ¶ 60-61. As Defendants admit, individuals who submit an

NCOA request do not forfeit their eligibility to vote in their home jurisdiction.

SUMF ¶¶ 69- 71. Thus, residency-based voter challenges “are per se, that is, on their

face, insufficient to cancel an elector’s registration.” Mont. Democratic Party v.

Eaton, 581 F. Supp. 2d 1077 (D. Mont. 2008).

      Having started from the false premise that a voter’s eligibility can be

determined from NCOA data alone, Defendants’ search for Georgia voters in the

NCOA registry was disastrously fraught with incredibly poor methodology. Even

OpSec acknowledges that “the import of verifying identity can’t be overstated in this

case.” SUMF ¶ 85. Yet Defendants made no serious effort to do so. Their sloppy,

haphazard attempt to match inadequate and incomplete data fields with no

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meaningful quality control produced exactly what one would expect: a bloated

challenge file rife with errors. Dr. Mayer’s unrefuted expert report reviewed the

challenge file and identified multiple critical errors for which Defendants are unable

to provide any justification. SUMF ¶ 80-125.

             2.     Improper matching that misidentified voters.
      The databases that True the Vote used to construct its challenge lists do not

allow for foolproof matching. The public voter file that OpSec relied on includes

only one unique identifier—the voter registration number—for each registered voter.

SUMF ¶ 81. The file does not include any other potential unique identifiers, such as

social security numbers or driver’s license numbers. SUMF ¶ 81. Instead, the voter

file lists a person’s name, address, birth year, race, gender, registration date, and date

last voted—none of which is necessarily exclusive to any one person. SUMF ¶ 81.

The NCOA registry, in turn, does not include an individual’s voter registration

number or any other unique identifier. SUMF ¶ 82. Thus, the only common fields

between the voter file and NCOA registry are a person’s name and address, which

cannot—and certainly did not—dependably identify a unique individual. SUMF ¶

82Thus, even if True the Vote had exactly matched all common fields between the

voter file and the NCOA registry, its challenge list still would have been unreliable




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because there is nothing to ensure proper reconciliation across these files to establish

non-residency.

      But True the Vote did not even do that much. Instead, it settled for partial

matches between the files. SUMF ¶ 83. For example, OpSec accepted purported

matches where individuals in the voter file and NCOA registry with the same first

and last names had different middle initials or different name suffixes (e.g., Jr. or

Sr.). SUMF ¶ 83. And OpSec did not even care to investigate how frequently this

was occurring. SUMF ¶ 83. True the Vote’s challenge file is also missing several

sources of identification found in the State’s voter registration records, including

middle name or middle initial, maiden name, suffix, or birth year, which are critical

when matching individual records from one database to another. SUMF ¶ 86.

Instead, the only fields that appear to have been matched between the voter file and

the NCOA registry are first name, last name, and address. SUMF ¶ 86. Because

name and address combinations are far from unique in the voter file, this resulted in

obvious errors and false matches, SUMF ¶ 87, with a disproportionate racial impact:

Black voters comprise 27.3% of all individuals in the challenge file, but 40.3% of

instances in which a single NCOA entry matched to multiple voter registration

records. SUMF ¶ 88.

      True the Vote and OpSec refused to provide more than vagaries about what,

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if anything, they did to reduce these and other errors. SUMF ¶ 84.

            3.     Voters on the challenge lists were already registered at their
                   new address or had not moved at all.

      Dr. Mayer found at least five individuals whose registration address and

“moved to” address in True the Vote’s challenge file are identical, meaning that the

voter had not moved at all. SUMF ¶¶ 89-90. Mr. Phillips admitted that he knew these

errors were in the challenge file and that they should have been removed—and yet

they were not. SUMF ¶ 89. Mr. Phillips also admitted that he knew voter

registrations remain valid where a voter moves within the same county, SUMF ¶ 97,

and yet Dr. Mayer found 145 examples where a challenged individual’s registration

address and “moved to” address were in the same county. SUMF ¶ 98.

      Dr. Mayer also found 6,377 entries where individuals had re-registered at their

new address—where they were challenged for having moved to. In other words,

True the Vote inexplicably challenged the eligibility of voters who were registered

at the very address that True the Vote alleged to be their new home. SUMF ¶ 99. Mr.

Phillips testified that True the Vote’s approach to this issue was to throw up their

hands and make it someone else’s problem: “[Reviewing for this error] was beyond

our capacity so in that case what we would say is submit the challenge and let the

county figure it out.” SUMF ¶ 123.



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             4.    Voters on the challenged lists lived near or on military
                   installations.

      Defendants knew that Georgia residents who relocate temporarily for military

service remain eligible to vote in Georgia. SUMF ¶ 105. Indeed, the only consistent

explanation Defendants have provided about how they refined the accuracy of their

challenge file is their claim to have removed military voters. SUMF ¶ 105. And yet,

Dr. Mayer found 22,956 challenged voters who, according to True the Vote’s

challenge file, moved to an address near a military installation, including 397

registrants who are listed as living on a military base. SUMF ¶ 106. When asked

what further analysis True the Vote performed to identify whether military voters

who moved to a base retained their eligibility to vote in Georgia, Mr. Phillips

admitted the obvious: “We didn’t.” SUMF ¶ 107.

             5.    Challenge lists include addresses in municipalities with
                   universities.

      True the Vote made no attempt to remove from the challenge lists the names

of individuals who had temporarily relocated to attend a college or university. Again,

Defendants knew that students remain eligible to vote at their home address. SUMF

¶ 108. Yet they did nothing to screen these individuals from the challenge file.

      Dr. Mayer ultimately found 35,056 registrants in the challenge file that were

alleged to have moved to a city containing academic institutions that Georgia


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residents regularly attend. SUMF ¶ 109. In all, 57,534 registrants in the challenge

file—22.9% of the entire list—are alleged to have moved to or near a military

installation, or to a municipality with a college or university. SUMF ¶ 110.

             6.    True the Vote ignored clear warnings and evidence that its
                   challenge list was error prone.

      True the Vote’s own recruited challenger and two of its close allies warned

the organization of obvious errors in its challenge list to no avail. In Taliaferro

County, recruited challenger Joe Martin—who was also the Chair of the Taliaferro

County Republican Party—became suspicious upon reviewing the list of 37 names

that True the Vote asked him to challenge, and asked: “[H]ow did this list come

about? Where did this list come from? Who generated the list?” SUMF ¶ 113.5

Rather than challenge all 37 individuals on True the Vote’s Taliaferro County list,

Mr. Martin winnowed the list himself and chose to submit letters challenging only

the three registrants on the list who had requested an absentee ballot for the runoff

elections. SUMF ¶ 114. But Mr. Martin soon discovered that even this small subset

was faulty: the three challenged voters were all elderly individuals who either lived




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 True the Vote’s regular practice was to submit challenges under a volunteer’s name
using a True the Vote email account without telling the volunteer who was being
challenged. SUMF ¶ 112. Mr. Martin requested the list of Taliaferro voters before
submitting the challenge.
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in Taliaferro County or maintained a homestead exemption there, and thus were

properly registered. SUMF ¶ 115.

      Upon learning this information, Mr. Martin promptly withdrew all challenges

and informed True the Vote about the problems with its challenge list: “My

experience with the True the Vote data base has not been good,” he wrote in an

email, because of “[c]oncerns with the quality of your information.” SUMF ¶ 116.

After summarizing the relevant events, he repeated again, “Impact of [] challenges.

Not good! Indicates problem with data accuracy and relevance.” SUMF ¶ 116.6

Without telling Mr. Martin it was doing so, True the Vote nonetheless challenged all

37 individuals in the Taliaferro County challenge list under Mr. Martin’s signature,

SUMF ¶ 117-118, and was subsequently forced to withdraw these challenges in

response to complaints from Mr. Martin.

      Defendant Mark Davis gave further warnings. While generally supportive of

challenge efforts, Davis “took exception” with True the Vote’s challenge

methodology. SUMF ¶ 120. A smaller, more focused list, Mr. Davis believed, would

have been “more legitimate.” SUMF ¶ 120. But True the Vote insisted on “including

as many records as possible [in its] challenge.” SUMF ¶ 121.


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  Notably, Mr. Martin—the only challenger who requested to see the list of
individuals to be challenged in his county—was also the one challenger to request
that his challenges be withdrawn. SUMF n.6.
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      Regrettably, Mr. Davis created his own challenge file of nearly 40,000

registrants and failed to heed his own advice by neglecting to perform any other

review of his NCOA match to remove college students or other potentially eligible

voters. SUMF ¶¶ 122, 124. While Mr. Davis and True the Vote were each

disinterested in the problems with their own challenge lists, they had no trouble

recognizing the flaws in each other’s. Mr. Phillips (True the Vote’s analyst)

specifically criticized Mr. Davis’s approach for failing to verify the identity of

individuals on the voter rolls before matching to the NCOA. SUMF ¶ 125. His

assessment of Mr. Davis’s list was blunt: “This is bad process.” SUMF ¶ 125.7

      D.    True the Vote’s Validate the Vote scheme created an atmosphere
            of intimidation.

      Apart from its frivolous voter challenges, True the Vote announced—just over

two weeks before the runoff election—that the Validate the Vote scheme it had

adapted to Georgia was “the most comprehensive ballot security effort in Georgia

history.” Dec. 15 Press Release. The scheme involved offering “bounties” enticing

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  Immediately after Mr. Phillips made this candid admission, counsel for Defendants
went off the record over Plaintiffs’ counsel’s objection and while a question was
pending to coach the witness not so share any further criticisms of Mr. Davis’s
approach. Mid-deposition conferences between counsel and witness are not allowed
for this purpose, see Atta v. Cisco Sys., Inc., No. 1:18-cv-1558-CC-JKL, 2019 WL
12383117, at *3 (N.D. Ga. Apr. 26, 2019), and so the Court should not permit
Defendants to dispute Mr. Phillips’s view that Mr. Davis’s challenge process was
invalid and unreliable.
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Georgians to report their fellow citizens for alleged fraud, and recruiting Navy

SEALs to monitor polling places and insert themselves in interactions with poll

workers and voters. These actions amplified the atmosphere of intimidation that True

the Vote itself had helped to create.

             1.     Offering bounties on reports of fraud and recruiting former
                    Navy SEALs to patrol polling places is objectively
                    intimidating.
      Ms. Engelbrecht was concerned that voters would not come forward with

allegations of fraud, ironically, because of the atmosphere of intimidation

surrounding the election. In her own words, she was “troubled” by the intimidation

suffered by electors. SUMF ¶ 145. Recognizing the “chilling effect” such an

environment could have, SUMF ¶ 45, Ms. Engelbrecht decided that she needed to

“put[] a bounty on the fraud.” SUMF ¶¶ 147-148. So True the Vote announced a

whistleblower fund in excess of $1 million. SUMF ¶ 146. But as Dr. Burton’s

unrefuted expert report explains, bounties historically have been “used to direct

suspicion around minority voters” by “incentivizing individuals to create or suspect

fraud where there may have been none.” SUMF ¶ 147. Nevertheless, Ms.

Engelbrecht promoted the bounty in press releases and on her podcast, repeating that

“Validate the Vote is about [] putting a bounty on the fraud.” SUMF ¶ 148.

      The bounty encouraged the public to monitor fellow citizens’ voting activities,

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which is yet another form of intimidation. The impact of such activities is readily

apparent when viewed against the backdrop of Georgia’s history of discriminatory

practices rooted in false claims of voter fraud used to disenfranchise Black citizens.

See Wohl I, 498 F. Supp. 3d at 483 & n.23 (assessing the history of discriminatory

practices implicated by the conduct in question, in assessing voter intimidation

claim); SUMF ¶ 154 & n.9. Thus, “in context, it is not difficult to see how” True the

Vote’s monetary exchange for alleged information about voter misconduct “may

cause reasonable Black voters to resist voting out of fear.” Wohl I, 498 F. Supp. 3d

at 483; Turner Decl. ¶ 11.

      True the Vote also promoted a plan to send former combat-trained veterans to

polling places precisely because of their intimidating presence. As Ms. Engelbrecht

described it, polling places “need[ed] people who were unafraid to call it like they

see it,” and if “[y]ou want to talk about people who understand and respect law and

order and chain of command, you get some S[EALS] in those polls,” especially so

those SEALS could “interact with voters.” SUMF ¶ 151,. Courts have long

recognized that these types of “ballot security” measures are likely to intimidate

voters, particularly racial minorities who have all too often been the target of these

schemes. As one court concluded, a Republican National Committee “ballot

security” program that involved “posting off-duty sheriffs and policemen . . . at

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polling places in minority precincts”—which for decades had been prohibited under

a consent decree—would disenfranchise even those voters whose eligibility was not

questioned. Democratic Nat’l Comm. v. Republican Nat’l Comm., 671 F. Supp. 2d

575, 579, 612 (D.N.J. 2009). “Some voters—especially in minority districts where

the legacy of racism and history of clashes between the population and authorities

has given rise to a suspicion of police and other officials—may choose to refrain

from voting rather than wait for the qualifications of those ahead of them to be

verified, especially if the verification process becomes confrontational.” Id.

             2.    True the Vote publicly amplified false claims and
                   intimidating conduct.

      True the Vote’s press releases and other communications surrounding its

campaign in Georgia were designed to “[b]uild public momentum through broad

publicity”—a tactic detailed in True the Vote’s Validate the Vote proposal—but

misrepresented facts and exaggerated its already bloated allegations of fraud for

“promotional purposes.” SUMF ¶ 130. In its December 18, 2020 press release, for

instance, True the Vote announced that it had “partner[ed] with Georgians in every

county to preemptively challenge 364,541 potentially ineligible voters” in 159

counties. SUMF ¶ 131. Like several other press releases, this one too was part of the

Validate the Vote plan to “[b]uild public momentum through broad publicity,”

SUMF ¶ 46, and was false, SUMF ¶ 131. True the Vote simply wanted the public to
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believe that it was targeting voters in every county. In reality, it had not yet recruited

challengers in all or even half of all counties by the time it issued that press release.

SUMF ¶ 131.

      Ironically, True the Vote’s attempts to foment public support for the Validate

the Vote scheme stoked the very environment Ms. Engelbrecht recognized was

intimidating to voters. She publicly “offer[ed] tips to ordinary Americans to prevent

the Democrat plan to steal the election in 2020,” SUMF ¶ 134—a plan referenced in

True the Vote’s Validate the Vote proposal. And despite True the Vote’s assertions

that the Georgia Elector Challenges did not accuse any voter of “act[ing]

improperly” or seek to “remove people . . . from the voter rolls,” SUMF ¶ 135, its

public communications did just that. Recruiting emails from True the Vote alleged

that 99.9% of the voters on the challenged list were incorrectly registered and that if

the challenges had occurred in October, “it is very likely Trump would have won

Georgia.” SUMF ¶ 136. Volunteers wrote back that True the Vote could use their

names and signature to “purg[e] the rolls of the deceased, nonexistent and

nonresidents of my county.” SUMF ¶ 137. Unsurprisingly, True the Vote did not




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correct these assumptions or otherwise suggest that these challengers had the wrong

idea. 8

                3.    Defendants encouraged and amplified threats of election-
                      related vigilantism on social media.

          Defendants also used or expressed support for threatening rhetoric on social

media. For instance, Mr. Somerville and Mr. Davis published a Facebook post about

voters registered with UPS store P.O. boxes, and someone commented “I think a

search warrant is in order here,” to which Mr. Davis responded, “great idea!” SUMF

¶ 140. Another individual commented on this post, “[l]et’s see if any one has the

balls to prosecute to the max or if they will just get a hand slap!” SUMF ¶ 140. Some

comments went even further, expressing a desire to physically harm voters who

allegedly violated the state’s election laws. One individual left the comment, “Hang

that prick!!!” in reference to a post by Mr. Somerville and Mr. Davis about a voter

who appeared to be registered in Georgia and another state. SUMF ¶ 140.




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  In keeping with its habit of overstating facts and figures for “promotional” reasons,
True the Vote’s recruitment email stated that the challenge list was “99.9 percent
likely to be incorrectly registered.” SUMF ¶ 135. The email also stated that True the
Vote had identified over 500,000 people on the Georgia voter rolls “that shouldn’t
be there.” SUMF ¶ 135. But in her deposition, Engelbrecht stated that the 500,000
number was incorrect and that True the Vote had no way of knowing whether the
99.9 percent figure was correct. SUMF ¶ 135.
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      All of these messages, which promote criminal prosecution of voters or

vigilantism, reflect objectively threatening and intimidating rhetoric supported by

Defendants, especially in the context of the “highly divided—and often outright

dangerous—environment [the] election season ha[d] fomented.” TRO Order at 26;

see also Council on Am.-Islamic Rels.-Minn. v. Atlas Aegis, LLC, 497 F. Supp. 3d

371, 379 (D. Minn. 2020) (finding that “[t]he presence of armed ‘guards’ at the polls

with no connection to state government is certainly likely to intimidate voters”);

United States v. Clark, 249 F. Supp. 720, 728 (S.D. Ala. 1965) (finding local sheriff

using his law enforcement power “highly intimidatory and coercive” to Black

voters).

      In yet another example, an organization affiliated with Ms. Engelbrecht and

True the Vote publicly threatened to publish the names of all challenged voters. On

December 20, 2020—shortly after True the Vote submitted the bulk of its Georgia

Elector Challenges—a Twitter account titled “Crusade for Freedom” posted on

Twitter: “We just prospectively challenged the eligibility of 360,000 voters in GA.

Largest single election challenge in Georgia and American history.” SUMF ¶ 141.

Two days later, Crusade for Freedom tweeted: “If the Georgia counties refuse to

handle the challenges of 366,000 ineligible voters in accordance with the law, I plan



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to release the entire list so America can do the QC.” SUMF ¶ 141. Both tweets added

the hashtags #eyesonGA and #validatethevoteGA.

      Ms. Engelbrecht admitted that these hashtags mirrored the slogans appearing

on several True the Vote documents, an internal invoice between OpSec and True

the Vote, and the phrase “validate the vote” was in fact the slogan recommended to

True the Vote by a private donor’s consultant. SUMF ¶ 56. Ms. Engelbrecht also

admitted that Crusade for Freedom’s logo in its tweets matched the logo in a

Facebook post from an organization named Time for a Hero—which was founded

by Ms. Engelbrecht and Mr. Phillips—that promised, “Crusade for Freedom coming

soon.” SUMF ¶ 142.9

      Only a week after Crusade for Freedom’s threat to publish the names of

challenged voters, Mr. Davis and Mr. Somerville expressed concern that Ms.

Engelbrecht would post complaints and challenges of voters on a website. On


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  While a question was pending in Ms. Engelbrecht’s deposition about Time for a
Hero’s social media posts, defense counsel instructed Ms. Engelbrecht to turn off
her video and audio and conferred with Ms. Engelbrecht over Plaintiffs’ counsel’s
objection. Because of defense counsel’s improper conduct, see Atta, 2019 WL
12383117, at *3, the Court should draw all inferences regarding Ms. Engelbrecht’s
involvement in Time for a Hero, Time for a Hero’s relationship with True the Vote,
and the Crusade for Freedom tweets in Plaintiffs’ favor. See United States v. A Single
Fam. Residence & Real Prop. Located at 900 Rio Vista Blvd., Fort Lauderdale, 803
F.2d 625, 630 n.4 (11th Cir. 1986) (concluding “[t]he district court drew a
permissible inference” from deponent’s failure to testify “that [deponent’s]
testimony would not have been favorable to the claim”).
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December 30, 2020, Mr. Davis texted Mr. Somerville, “Derek, we need to stop this.

If they publish they will be flooded with defamation complaints.” SUMF ¶ 143.

Further, publishing the names would “literally mak[e] good on one of the ‘Threats’

alleged in [Plaintiffs’] complaint.” SUMF ¶144. The threat of publishing names of

challenged voters and corresponding allegations that they are ineligible to vote is

unquestionably intimidating, as Mr. Davis and Mr. Somerville themselves have

admitted. SUMF ¶ 143-145. Such largescale attempts by Defendants to link voters’

names and personal information to condemnations of unlawful voter registration,

leading to “adverse publicity, intimidation, embarrassment, [or] fear of harassment

associated with their participation in the electoral process” constitute voter

intimidation under Section 11(b). See LULAC, 2018 WL 3848404, at *1.

      E.    True the Vote’s mass challenges and Validate the Vote scheme put
            voters in fear of adverse legal consequences and harassment.
      Accusations of illegal conduct are serious. Under Georgia law, a person who

“does not possess all the qualifications” to vote commits a felony by knowingly

casting a ballot. O.C.G.A. § 21-2-571; see also id. § 21-2-573. Punishment can

include imprisonment for up to 10 years and fines up to $100,000. Id. § 21-2-571;

see also id. § 21-2-573. And even if a Georgian does not know the specific

consequences they may face for registering or voting illegally, it is common

knowledge that doing so is a punishable crime.
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      Even frivolous challenges to a voter’s eligibility can raise fears of adverse

legal consequences and intimidate voters. As Dr. Mayer explains, “voters whose

eligibility is challenged may perceive a legal risk if they vote, which . . . dramatically

increases the cost of voting and discourages turnout even if the individual is

eligible.” SUMF ¶ 152. This risk is particularly acute for low-information voters or

voters of lower socioeconomic status who may lack the resources to navigate the law

or understand whether they remain eligible to vote despite being formally

challenged. SUMF ¶ 153. Similarly, Dr. Burton explains that “voters may be

reasonably hesitant to arrive at the polls to ‘prove’ their eligibility if [they have] been

challenged,” particularly in Georgia, which has “launched numerous investigations

into voters accused of wrongdoing” over the past decade. SUMF ¶ 154-174.

      Voters who were targets of Defendants’ challenges expressed feelings of fear,

anxiety, and outright intimidation. Plaintiff Jane Doe feared that she or her family

would become the target of harassment from Defendants and their supporters if she

voted. SUMF ¶ 155. Plaintiff Jocelyn Heredia testified that she was “the only

Hispanic” in line at her polling place, and being pulled aside because of the legal

challenge “made [her] feel intimidated.” SUMF ¶ 158. Ms. Heredia’s name was

publicly listed as a “challenged voter” on Banks County’s website for six months.

SUMF ¶ 158. Gamaliel Turner found the experience of being challenged to be

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“scary, confusing, and intimidating.” SUMF ¶ 172. As a Black voter growing up in

the segregation era, thinking about his experience in the January runoff elections

“gives [him] PTSD.” SUMF ¶ 173. Mr. Turner wonders “if it is even worth trying

to vote again given the trouble that the voter challenge has caused [him].” SUMF ¶

174. And the list goes on. SUMF ¶ 163-166. Defendants’ conduct was not just

objectively intimidated, it struck fear in lifelong Georgia residents and lawful voters.

II.    Defendants’ affirmative defenses lack merit.
       When confronted with the obvious consequences of their election subversion

scheme, Defendants raised several defenses that misinterpret the VRA and misapply

(or ignore entirely) settled precedent, including that: (1) the First Amendment bars

relief for voter intimidation; (2) that enforcement of Section 11(b) itself violates the

right to vote; and (3) that Section 11(b) would be unconstitutionally vague absent a

requirement that Plaintiffs prove intent. The Court rejected these arguments already,

and there is no reason for it to revisit its decision.

       First, Defendants’ free speech argument fails because Defendants’ conduct at

issue is not protected by the First Amendment. As this Court explained, the First

Amendment does not protect “true threats,” TRO Order at 17, and even if it did,

“preventing voter intimidation and election fraud” is a sufficiently compelling state




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interest to survive strict scrutiny under the First Amendment. Id. (quoting Burson v.

Freeman, 504 U.S. 191, 206 (1992)).

      Second, Defendants’ argument that the VRA protects their right to keep others

from voting turns the landmark civil rights legislation and decades of settled

precedent on their head. This Court correctly observed that Defendants’ up-is-down

theory is unprecedented in suggesting that those who would prevent others from

voting are the real victims of voter suppression. See ECF No. 111. at 16–17 & n.9.

      Finally, this Court concluded that “a plaintiff need not show animus or an

intent to harass or intimidate to succeed on a Section 11(b) claim,” for good reason:

the plain language of the statute imposes no such requirement; courts have

repeatedly interpreted Section 11(b) to require no showing of intent and have

rejected the notion that the terms intimidate, threaten, and coerce are vague. TRO

Order at 23. In other words, this is not a case in which a person “of common

intelligence must necessarily guess” as to whether a specific act is proscribed by

statute—the standard for unconstitutional vagueness. Ga. Pac. Corp. v.

Occupational Safety & Health Rev. Comm’n, 25 F.3d 999, 1005 (11th Cir. 1994).

      The Court should therefore reject Defendants’ affirmative defenses, and grant

Plaintiffs’ motion for summary judgment.



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                          CONCLUSION

For the foregoing reasons, Plaintiffs are entitled to summary judgment.




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Respectfully submitted, this 16th day of May, 2022.

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                            CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and foregoing

Brief in Support of Plaintiffs’ Motion for Summary Judgment with the Clerk of

Court using the CM/ECF system, which will automatically send-e-mail notification

to all counsel of record.

This 16th day of May, 2022.

                                              /s/ Uzoma Nkwonta
                                              Uzoma Nkwonta
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                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), N.D. Ga., I hereby certify that the foregoing Brief in

Support of Plaintiffs’ Motion for Summary Judgment has been prepared in

accordance with the font type and margin requirements of LR 5.1, N.D. Ga., using a

font type of Times New Roman and a point size of 14.

This 16th day of May, 2022               /s/ Uzoma N. Nkwonta
                                         Uzoma N. Nkwonta




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